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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                       :      Honorable Douglas Arpert

         v.                                    :      Mag. No. 12-2547 WA)

MINDY RUBLOWITZ

                                                      ORDER FOR CONT1NUANCE


       This matter having been opened to the Court by Paul J. Fishman, United States Attorney for

the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing), and

defendant MJNDY RUBLOWITZ (Jerome A. Ballarotto, Esq., appearing), for an order granting a

continuance of the proceedings in the above-captioned matter; and one continuance having

previously been granted; and the defendant being aware that she has the right to have the matter

presented to a Grand Jury within thirty (30) days ofthe date ofher arrest pursuant to Title 18 U.S.C.

§ 3161; and the defendant through her attorney having waived such rights and consented to the
continuance; and for good and sufficient cause shown,

       IT IS THE FIND1NG OF THIS COURT that this action should be continued for the

following reasons:

               1. Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

               2. Defendant has consented to the aforementioned continuance.

               3. The grant of a continuance will likely conserve judicial resources.

               4. Pursuant to Title 18 of the United States Code, Section 3161(hX7XA), the ends

       ofjustice served by granting the continuance outweigh the best interests ofthe public and the

       defendants in a speedy trial.
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             WHEREFORE. on this           day                         ,   2012;

                                                                                    ued from             September
             ORDERED that the proceedings in the above- :aptioned matter are contin

      14, 2012 through November 13, 2012; and it is fun) [Cr
                                                                                   ber 13, 2012
             ORDERED thaithe period between from Se :‘tember 14,2012 through Novem
                                                                            1914.
      shall be excludable in computing time under the Sp edy Trial Act of




                                            I-ION. DQtJGLAS ARPERT
                                            United StatesMgistrate Judge




      Form and entry
      consented to:



      JONAThAN ROMANKOW
      Assistant U.S. Attorney




      JE A, BALLösqE
    ,fnel for Defendant Mindy Rublowitz
